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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )
                                          )
                    Plaintiff,            )
                                          )                     8:10CR158
      vs.                                 )
                                          )                       ORDER
DAVID M. HERNANDEZ,                       )
                                          )
                    Defendant.            )



       This matter is before the court on defendant's MOTION FOR EXTENSION OF TIME
TO FILE PRETRIAL MOTIONS [230]. The record shows that this deadline has already
expired on June 10, 2010. The present motion was not timely filed, and the court finds that
the defendant has not shown good cause for reopening the deadline.

      IT IS ORDERED:

        Defendant's MOTION FOR EXTENSION OF TIME TO FILE PRETRIAL MOTIONS
[230] is denied.

       A party may object to a magistrate judge's order by filing an "Objection to
Magistrate Judge's Order" within 14 days after being served with the order. The
objecting party must comply with all requirements of NECrimR 59.2.

      DATED this 7th day of March, 2011.

                                         BY THE COURT:


                                         s/ F.A. Gossett
                                         United States Magistrate Judge
